           EXHIBIT 4

Case 5:20-cv-00354-BO Document 35-4 Filed 09/02/21 Page 1 of 11
From:               David Grassi
To:                 "Daniel Zemel"
Cc:                 "Chad Diamond"; "Nicholas Linker"; Chad Echols; Salley Odom
Subject:            RE: Hallager v ARS Discovery Responses
Date:               Friday, August 20, 2021 3:40:00 PM
Attachments:        image001.png
                    2021 8 20 HRRG Hallager (Ltr Serving Notice of Dep).pdf
                    2021 8 20 ARS Hallager (Notice of Deposition of Plaintiff).pdf


Daniel,

Since I have not heard back from you regarding anything in my email below, and since the discovery
window is quickly closing, we had no choice but to go ahead and set your client’s deposition date.
Please see the attached notice of deposition for your client, along with a cover letter serving same. I
will also be sending a letter to the mediator shortly, since our deadline to mediate is also four weeks
out.

As for deposition dates of my clients, they have indicated they have some availability during the first
two full weeks of September. They cannot determine the exact availability without a topic list, since
the designee would likely vary depending on the topics. Please forward that when you get a chance
and we can get that date nailed down.

Let me know if you have any questions.

Thank you,

David A. Grassi
Attorney
The Echols Firm, llc
224 Oakland Ave. (29730)
P.O. Box 12645
Rock Hill, South Carolina 29731
803.329.8982
david.grassi@theecholsfirm.com




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sender immediately by email and delete this communication and all copies.


          Case 5:20-cv-00354-BO Document 35-4 Filed 09/02/21 Page 2 of 11
From: David Grassi
Sent: Wednesday, August 11, 2021 5:34 PM
To: 'Daniel Zemel' <dz@zemellawllc.com>
Cc: Chad Diamond <chad.diamond@gmail.com>; Nicholas Linker <NL@zemellawllc.com>; Chad
Echols <chad.echols@theecholsfirm.com>; Salley Odom <salley.odom@theecholsfirm.com>
Subject: RE: Hallager v ARS Discovery Responses

Daniel,

Are you also withdrawing the non-privilege objections as outlined in my letter?

Regarding depositions, I have requested my client’s availability and will let you know when I have a
response. I anticipate that my client will want me to depose your client. Please provide some
available dates and we will re-notice his deposition. As before, it will be an in person deposition.

Finally, I believe we are required to mediate by September 17. Before we reach out to the mediator
regarding her availability, do you want to engage in some settlement discussions? My recollection is
that we still do not have a counter to the offer we made back in November. While I believe my
clients will prevail at summary judgment based on the evidence produced to date, they may still be
willing to put some money on the table to avoid the expense of the motion and depositions.

Thank you,

David A. Grassi
Attorney
The Echols Firm, llc
224 Oakland Ave. (29730)
P.O. Box 12645
Rock Hill, South Carolina 29731
803.329.8982
david.grassi@theecholsfirm.com




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From: Daniel Zemel <dz@zemellawllc.com>
Sent: Tuesday, August 10, 2021 4:40 PM
To: David Grassi <David.Grassi@theecholsfirm.com>
Cc: Chad Diamond <chad.diamond@gmail.com>; Nicholas Linker <NL@zemellawllc.com>; Chad
Echols <chad.echols@theecholsfirm.com>; Salley Odom <salley.odom@theecholsfirm.com>
Subject: Re: Hallager v ARS Discovery Responses

David,

The client has been looking for any additional records but has not yet found any. Because
subsequent reports and dispute letters are important, I have drafted this subpoena to Experian.

At this time, Plaintiff has no further credit report documents.

On Mon, Aug 2, 2021 at 6:38 PM Daniel Zemel <dz@zemellawllc.com> wrote:
  Thanks. Let me take care of this by weeks end.

  On Tue, Jul 27, 2021 at 12:49 PM David Grassi <David.Grassi@theecholsfirm.com> wrote:
     Daniel,

     How much time do you need? I don’t mind some extra time, especially under the
     circumstances, but we also have some deadlines approaching so I do not think I can agree to
     more than a week.

     Thanks,

     David A. Grassi
     Attorney
     The Echols Firm, llc
     224 Oakland Ave. (29730)
     P.O. Box 12645
     Rock Hill, South Carolina 29731
     803.329.8982
     david.grassi@theecholsfirm.com




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From: Daniel Zemel <dz@zemellawllc.com>
Sent: Tuesday, July 27, 2021 11:56 AM
To: David Grassi <David.Grassi@theecholsfirm.com>
Cc: Chad Diamond <chad.diamond@gmail.com>; Nicholas Linker <NL@zemellawllc.com>; Chad
Echols <chad.echols@theecholsfirm.com>; Salley Odom <salley.odom@theecholsfirm.com>
Subject: Re: Hallager v ARS Discovery Responses

David,

Steve has left my firm and a lot has fallen on my shoulders. I will respond to this but I
need a bit more time. Is that okay?

On Mon, Jul 19, 2021 at 10:39 AM David Grassi <David.Grassi@theecholsfirm.com>
wrote:
  Counsel,

  Please see the attached correspondence regarding Mr. Hallager’s discovery responses.

  Thank you,

  David A. Grassi
  Attorney
  The Echols Firm, llc
  224 Oakland Ave. (29730)
  P.O. Box 12645
  Rock Hill, South Carolina 29731
  803.329.8982
  david.grassi@theecholsfirm.com




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   Case 5:20-cv-00354-BO Document 35-4 Filed 09/02/21 Page 5 of 11
     all copies.




  --
  Daniel Zemel, Esq.

  ZEMEL LAW, LLC
  660 Broadway
  Paterson, NJ 07514
  T: (862) 227-3106
  F: (973) 282-8603
  DZ@zemellawllc.com

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--
Daniel Zemel, Esq.

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T: (862) 227-3106
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--
Daniel Zemel, Esq.

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         Case 5:20-cv-00354-BO Document 35-4 Filed 09/02/21 Page 7 of 11
                                                                                                        Chad V. Echols
                                                                                        chad.echols@theecholsfirm.com
                                                                                                      Marissa A. Coyle
                                                                                      marissa.coyle@theecholsfirm.com
                                                                                                     Jenna M. Williams
                                                                                     jenna.williams@theecholsfirm.com
                                                                                                        David A. Grassi
                                                                                        david.grassi@theecholsfirm.com



August 20, 2021

VIA EMAIL ONLY
Chad Diamond
3356 Maywood Drive
Charlotte, NC 28205
chad.diamond@gmail.com

Daniel Zemel
Zemel Law, LLC
660 Broadway
Patterson, NJ 07514
dz@zemellawllc.com

       RE:      Henry Hallager v. Account Resolution Services, LLC and Experian Information
                Solutions, Inc.
                Case No.        5:20-cv-00354-BO (E.D.N.C.)
                Our File No. CIV-4586

Dear Counsel:

       Enclosed, please find Defendant Healthcare Revenue Recovery Group, LLC’s d/b/a ARS
Account Resolution Services’ Notice of Deposition with regard to the above-referenced matter
which is being served on you as counsel for the Plaintiff.

                                         Yours Very Truly,




                                          David A. Grassi

Enclosure (as stated)




                                         The Echols Firm, LLC
                                             803-329-8970
       224 Oakland
        Case       Avenue Rock Hill, SC Document
               5:20-cv-00354-BO         29730 Mailing35-4
                                                       Address PO Box
                                                             Filed    12645 Rock
                                                                   09/02/21      Hill,8SCof29731
                                                                              Page          11
                                           theecholsfirm.com
                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

 HENRY HALLAGER,

                       Plaintiff,                         Case No. 5:20-cv-00354-BO

        v.

 ACCOUNT RESOLUTION SERVICES,
 LLC; EXPERIAN INFORMATION
 SOLUTIONS, INC.,

                       Defendants.


                                    NOTICE OF DEPOSITION

TO:    Henry Hallager
       c/o Chad Diamond, Esq.
       Chad Diamond, P.A.
       3356 Maywood Drive
       Charlotte, NC 28205
       Email: chad.diamond@gmail.com

       and

       Daniel Zemel, Esq.
       Daniel Zemel LLC
       1373 Broad St., Ste. 203-C
       Clifton, NJ 07013
       Email: DZ@zemellawllc.com

       PLEASE TAKE NOTICE that Defendant Healthcare Revenue Recovery Group, LLC d/b/a

ARS Account Resolution Services will take the deposition of Plaintiff Henry Hallager beginning

at 12:00 PM on Friday, September 3, 2021 at Regus Business Center, 421 Fayetteville Street, Suite

1100, Raleigh, NC 27601. This deposition will be taken before a notary public or other officer

duly authorized by law to administer oaths, and will be recorded by videographic and/or

stenographic means.




        Case 5:20-cv-00354-BO Document 35-4 Filed 09/02/21 Page 9 of 11
      The deposition will continue from day-to-day until completed.

Dated: August 20, 2021
                                                 /s/ David A. Grassi, Jr.
                                                 David A. Grassi, Jr. (N.C. Bar No. 38191)
                                                 The Echols Firm, LLC
                                                 P.O. Box 12645
                                                 Rock Hill, SC 29731
                                                 Phone: (803) 329-8970
                                                 Email: david.grassi@theecholsfirm.com

                                                 Counsel for Defendant Healthcare Revenue
                                                 Recovery Group, LLC d/b/a ARS Account
                                                 Resolution Services




       Case 5:20-cv-00354-BO Document 35-4 Filed 09/02/21 Page 10 of 11
                               CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of August, 2021, the foregoing Defendant Healthcare

                                                                                     Notice of

Deposition of Plaintiff has been                                                         to the

following address(es):

                Chad Diamond                                    Daniel Zemel
             Chad Diamond, P.A.                                Zemel Law LLC
            3356 Maywood Drive                            1373 Broad St., Ste. 203-C
             Charlotte, NC 28205                              Clifton, NJ 07013
       Email: chad.diamond@gmail.com                     Email: DZ@zemellawllc.com

             Counsel for Plaintiff                           Counsel for Plaintiff


                                                   /s/ David A. Grassi, Jr.
                                                   The Echols Firm, LLC




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